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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
                                                     /

          DEFENDANTS’ NOTICE OF FILING DOCUMENTS IN RESPONSE TO THE
              COURT’S REQUEST AT THE JUNE 11, 2018 STATUS HEARING

              Defendants BuzzFeed, Inc. and Ben Smith hereby file the following documents in

   response to the Court’s request at the status hearing held on June 11, 2018:

            1)         January 11, 2017 statement from Director of National Intelligence James

                       Clapper;

            2)         January 11, 2017 statement from Senator John McCain;

            3)         Transcript of testimony given to the Senate Judiciary Committee by Sally Q.

                       Yates and James R. Clapper Jr. on May 8, 2017. See page 16;

            4)         Transcript of testimony given to the House Intelligence Committee by John O.

                       Brennan on May 23, 2017. See page 52;

            5)         Statement for the Record provided by James B. Comey to the Senate Select

                       Committee on Intelligence, dated June 8, 2017. See pages 1-2;

            6)         Transcript of testimony given to the Senate Select Committee on Intelligence by

                       James B. Comey on June 8, 2017. See page 25;
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        7)    Transcript of the interview of Glenn Simpson conducted by the Senate Judiciary

              Committee on August 22, 2017. See pages 158-78, 214-16, 219-23, 225-32;

        8)    Transcript of the interview of Glenn Simpson conducted by the House

              Intelligence Committee on November 14, 2017. See pages 53, 59-62, 76-80,

              165;

        9)    Letter from Senators Charles E. Grassley and Lindsey O. Graham to Rod J.

              Rosenstein and Christopher A. Wray dated January 4, 2018;

        10)   Memorandum from Majority Staff of the House Intelligence Committee to its

              Majority Members dated January 18, 2018;

        11)   Memorandum from Minority Members of the House Intelligence Committee to

              all members of the House of Representatives dated January 29, 2018;

        12)   Statement from Senator Diane Feinstein entitled “Analysis Refutes Criminal

              Referral of Christopher Steele” dated February 9, 2018;

        13)   House Intelligence Committee Report on Russian Active Measures dated March

              22, 2018. See pages 104, 112;

        14)   Minority views in response to House Intelligence Committee Report on Russian

              Active Measures dated March 26, 2018. See page 44.
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  Dated: June 12, 2018
                                                    Respectfully submitted,
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                                                      Attorneys for Defendants


                                       CERTIFICATE OF SERVICE

            I CERTIFY that on June 12, 2018, I electronically filed the foregoing document with the Clerk of

  the Court using CM/ECF. I also certify that the foregoing document is being served this day on all counsel

  of record via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically Notices of Electronic

  Filing.

                                                    By: /s/ Jared Lopez
                                                            Jared Lopez, Esq.
